       Case: 1:19-cv-03479 Document #: 28 Filed: 08/13/19 Page 1 of 1 PageID #:92




                     IN THE UNITED STATES DISTRICT COURT FOR THE
                             NORTHERN DISTRICT OF ILLINOIS
                                  WESTERN DIVISION

Maytee Zagoda,                                 )
                                               )
        Plaintiff,                             )   Case No. 19 C 03479
                                               )
 vs.                                           )
                                               )
JTM Capital Management, LLC, and               )   Judge Philip G. Reinhard
DCC Management Group,                          )
                                               )
        Defendants.                            )

                                           ORDER

        On July 29, 2019, Magistrate Judge Johnston entered a report and recommendation [24]
that plaintiff’s motion [14] for default judgment be granted and that a default judgment be
entered against defendant DCC Management Group in the amount of $4,125.32. No timely
objection has been filed. The court has reviewed the record and accepts the report and
recommendation. Plaintiff’s motion [14] for default judgment is granted. Judgment is entered in
favor of plaintiff and against defendant DCC Management Group in the sum of $4,125.32
consisting of $500 in statutory damages under 15 U.S.C. § 1692k(a)(2)(A) and $3,625.32 in
attorneys’ fees and costs under 15 U.S.C. § 1692k(a)(3).

Date: 8/13/2019                             ENTER:


                                            ____________________________________
                                                United States District Court Judge


                                                                  Electronic Notices. (LC)
